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 1   ROBERT L. FORKNER (CSB# 166097)
     Law Offices of Robert L. Forkner
 2   722 Thirteenth Street
     Modesto, California 95354
 3   Telephone: (209) 544-0200
     Fax:        (209) 544-1860
 4
 5   Attorneys for Defendant
     JOHN MACDONALD HALLANGER
 6
 7
 8
                        UNITED STATES DISTRICT COURT
 9
                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )       CASE NO. 1:05-CR-242
                                       )
12              Plaintiffs,            )   STIPULATION AND PROPOSED
                                       )   ORDER TO CONTINUE SENTENCING
13   vs.                               )   AND SET FOR EVIDENTIARY
                                       )   HEARING
14                                     )
     JOHN MACDONALD HALLANGER,         )
15                                     )
                Defendants.            )
16                                     )
17         IT IS HEREBY STIPULATED by and between defendant JOHN
18   MACDONALD HALLANGER, through his attorney, ROBERT L.
19   FORKNER, and plaintiff United States of America, through its
20   counsel of record, Assistant United States Attorney KIMBERLY
21   SANCHEZ, stipulate and agree to the following:
22         1.   Counsel for government and counsel for defendant
23   have actively been trying to resolve certain stipulations
24   and issues regarding sentencing for defendant JOHN MACDONALD
25   HALLANGER and have been unable to do so. It is requested
26   that a one to two hour evidentiary hearing regarding
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 1   sentencing be scheduled for January 10, 2008, at 12:00 p.m.,
 2   in courtroom 3, and the presently scheduled sentencing date
 3   of January 4, 2008, at 1:30 p.m., in courtroom 3 be vacated.
 4
 5   DATED: December 6, 2007            /s/ Robert L. Forkner
                                       ROBERT L. FORKNER
 6                                     Attorney for Defendant
                                       JOHN MACDONALD HALLANGER
 7
 8   DATED: December 6, 2007            /s/ Kimberly A. Sanchez
                                       KIMBERLY A. SANCHEZ
 9                                     Assistant US Attorney
10
11
12
                                      ORDER
13
14        IT IS SO ORDERED that the January 4, 2008, 12:00 p.m.,
15   sentence be vacated and set the matter for an evidentiary hearing
16   and sentencing on January 10, 2008, at 12:00 p.m., in courtroom 3
17   for defendant JOHN MACDONALD HALLANGER.
18
19
     IT IS SO ORDERED.
20
     Dated: December 7, 2007               /s/ Oliver W. Wanger
21   emm0d6                           UNITED STATES DISTRICT JUDGE
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